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EXHIBIT A-3
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cument 41-8 Filed 07/15/19 Page 2 of 4 PagelD #: 876

US PS Trac ki n g° Resu lts ; FAQs > (http://fag-usps.com/?articleld=220900)

9/22/2017 Case 1:18-cv-00427-JJM-LDA Do

Track Another Package +

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Remove X
Tracking Number: 9414726699042053727540
> » ) Delivered
Expected Delivery On: Monday, November 2, 2015 @
Product & Tracking Information See. Available Actions
Postal Preduct: Features:
First-Class Mail® Cettified Mail™
Return Receipt
DATE & TIME STATUS OF ITEM LOCATION
” November 2, 2015, 2:09 pm Delivered WESTERLY, RI 02891
m.
Your item was delivered at 2:09 pm on November 2, 2015 In WESTERLY, Al 02891.
November 2, 2015, 8:42 am Out for Delivery WESTERLY, Rl 02891
November 2, 2015, 8:08 am Arrived at Unit WESTERLY, RI 02891
November 1, 2015, 8:16 am Departed USPS Regional Facility PROVIDENCE RI DISTRIBUTION CENTER
October 31, 2015, 7:45 am Arrived at-USPS Regional Facility PROVIDENCE RI DISTRIBUTION CENTER
Oatober 31, 2015, 12:23 am Artived at USPS Regional Facility BOSTON MA DISTRIBUTION CENTER
See Less “~
Available Actions
See Less A

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

FAQs (http://faq.usps.com/7articleld=220900)

hitps:/tools. usps.com/go/T! tackConfirmAction?tLabels=94 1 A726699042053727540 U3
Now, you can digitally pre

Set up em

View grayscale images of the exterior,

And more!

* Images are only provided for letter:

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view your mail and automatically track packages from 4 secure, online d.

Schedule a package to be redelivered if you missed a delivary

address side of letter-sized mailpieces scheduled to arrive soon*

Track the delivery status of packages without entering a tracking number

ail and/or text notifications ta track the delivery status of your package(s)

Sign Up

{hitps://reg.usps.com/entreg/RegistrationAction_input?

sized mailpieces that are processed through

 

 

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